                                                                                               Case 2:20-cv-01519-RFB-EJY Document 10 Filed 10/26/20 Page 1 of 3



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                                                                                      7 California Ironworkers Field Welfare Trust, California and
                                                                                      8 Vicinity Field Ironworkers Annuity Fund, California Field
                                                                                          Ironworkers Vacation Trust Fund, California Field Ironworkers
                                                                                      9 Apprenticeship Training and Journeyman Retraining Fund,
                                                                                        Ironworkers Workers’ Compensation Trust, California Field
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                                                                                     10
                                                                                        Ironworkers Administrative Trust, and California
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                                                                                     11 Field Ironworkers Labor Management Cooperative Trust

                                                                                     12                        UNITED STATES DISTRICT COURT
                                                                                     13                             DISTRICT OF NEVADA
                                                                                     14 The Trustees of the California                Case No.: 2:20-cv-01519-RFB-EJY
                                                                                     15
                                                                                          Ironworkers Field Pension Trust,
                                                                                          California Ironworkers Field Welfare
                                                                                     16   Trust, California and Vicinity Field
                                                                                     17
                                                                                          Ironworkers Annuity Fund, California        STIPULATION AND ORDER TO
                                                                                          Field Ironworkers Vacation Trust Fund,      EXTEND TIME FOR DEFENDANTS
                                                                                     18   California Field Ironworkers                FREYSSINET, INC. AND WESTERN
                                                                                     19
                                                                                          Apprenticeship Training and Journeyman      SURETY COMPANY TO RESPOND TO
                                                                                          Retraining Fund, Ironworkers Workers’       THE COMPLAINT
                                                                                     20   Compensation Trust, California Field
                                                                                                                                          (FIRST REQUEST)
                                                                                     21   Ironworkers Administrative Trust, and
                                                                                          California Field Ironworkers Labor
                                                                                     22   Management Cooperative Trust,
                                                                                     23
                                                                                                             Plaintiffs,
                                                                                     24 vs.
                                                                                     25
                                                                                          Freyssinet, Inc., a Delaware corporation;
                                                                                     26 Western Surety Company, a South
                                                                                     27 Dakota Company; M. A. Mortenson
                                                                                          Company, a Minnesota corporation;
           Case 2:20-cv-01519-RFB-EJY Document 10 Filed 10/26/20 Page 2 of 3




     McCarthy Building Companies, Inc., a
 1
     Missouri corporation; Federal Insurance
 2   Company, an Illinois corporation; and
 3
     Mortenson-McCarthy Las Vegas
     Stadium, a Joint Venture, a general
 4   partnership; Merchants Bonding
 5
     Company, an Iowa Company; Travelers
     Casualty and Surety Company of
 6   America, a Connecticut surety; John Does
   I-XX, inclusive; and Roe Entities I-XX,
 7 inclusive,

 8
                             Defendants.
 9
            WHEREAS, Plaintiffs have served Defendants Freyssinet Inc. (“Freyssinet”)
10
     and Western Surety Company (“Western Surety”) with their Complaint;
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            WHEREAS, Freyssinet’s responsive pleading is due on December 6, 2020
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     and Western Surety’s is due on October 25, 2020;
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            WHEREAS, Western Surety has tendered its defense to Freyssinet and
14
     Freyssinet is evaluating that tender;
15
            WHEREAS, the parties are actively engaged in settlement discussions;
16
            WHEREAS, Plaintiffs and Freyssinet have agreed that extending the due date
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     for Freyssinet’s and Western Surety’s respective responsive pleadings will allow
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     Freyssinet time to evaluate Western Surety’s tender and will allow the parties time
19
     to further engage in meaningful settlement discussions that could resolve the case or
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     reduce the scope of the issues in dispute;
21
            WHEREFORE, IT IS HEREBY STIPULATED by Plaintiffs and Freyssinet,
22
     by and through their undersigned counsel of record, that pursuant to LR IA 6.1, that
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     Freyssinet and Western Surety shall have up to and including December 6, 2020
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     within which to answer or otherwise respond to the Complaint.
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     ///
26
     ///
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          Case 2:20-cv-01519-RFB-EJY Document 10 Filed 10/26/20 Page 3 of 3




 1 This is the first stipulation to extend time by which Freyssinet and Western Surety

 2 must respond to the complaint.

 3         Dated this 23rd day of October, 2020.
 4 CHRISTENSEN JAMES & MARTIN            COZEN O’CONNOR
 5 By:/s/ Laura J. Wolff
                                         By: /s/ Michael W. Melendez
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10
   Attorneys for Plaintiffs
11

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                                                  IT IS SO ORDERED:
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19                                            ___________________________________
20                                            UNITED STATES MAGISTRATE JUDGE
                                                        October 26, 2020
21                                            Dated:______________________________

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